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 Fill in this information to identify your case:
 Debtor 1            Levi                   G.                    McCathern, II
                     First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         18-31615-SGJ11                                                                                           Check if this is an
 (if known)
                                                                                                                              amended filing



Official Form 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims Against You and Are Not Insiders                                              12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7,
Chapter 12, or Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your
relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20 percent or more of their voting securities;
and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Also, do not include
claims by secured creditors unless the unsecured claim resulting from inadequate collateral value places the creditor among
the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information.


 Part 1:       List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.
                                                                                                                              Unsecured claim

  1     Post Oak Bank                                 What is the nature of the claim?       Personal Guarantee                  $1,483,264.06
        Creditor's name                               As of the date you file, the claim is:   Check all that apply.
        P.O. Box 22009                                    Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        Houston                    TX      77227-2009
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                 –
        Contact phone
                                                                 Unsecured claim:


  2     Capital One/Neiman Marcus                         What is the nature of the claim?       Lawsuit                             $75,739.00
        Creditor's name                                   As of the date you file, the claim is:   Check all that apply.
        26525 N. Riverwoods Blvd.                             Contingent
        Number            Street
                                                              Unliquidated
                                                              Disputed
                                                              None of the above apply
        Mettawa                    IL      60045
        City                       State   ZIP Code       Does the creditor have a lien on your property?
                                                              No
        Contact                                               Yes. Total claim (secured and unsecured):
                                                                     Value of security                  –
        Contact phone
                                                                     Unsecured claim:




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Debtor 1       Levi G. McCathern, II                                                   Case number (if known)     18-31615-SGJ11
                                                                                                                           Unsecured claim

  3     Barclay’s Bank Delaware                       What is the nature of the claim?       Credit Card                        $75,000.00
        Creditor's name                               As of the date you file, the claim is:   Check all that apply.
        P.O. Box 8803                                     Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        Wilmington                 DE      19899
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                   –
        Contact phone
                                                                 Unsecured claim:


  4     Chase Card                                    What is the nature of the claim?       Credit Card                        $51,081.00
        Creditor's name                               As of the date you file, the claim is:   Check all that apply.
        P.O. Box 15298                                    Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        Wilmington                 DE      19850
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                   –
        Contact phone
                                                                 Unsecured claim:


  5     Business Insurance Consultants                What is the nature of the claim?       Insurance                          $20,245.50
        Creditor's name                               As of the date you file, the claim is:    Check all that apply.
        P.O. Box 2590                                     Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        Fort Smith                 AR      72902
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                  –
        Contact phone
                                                                 Unsecured claim:


  6     Bank of America                               What is the nature of the claim?       Credit Card                        $17,097.00
        Creditor's name                               As of the date you file, the claim is:   Check all that apply.
        P.O. Box 982238                                   Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        El Paso                    TX      79998
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                   –
        Contact phone
                                                                 Unsecured claim:




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Debtor 1       Levi G. McCathern, II                                                      Case number (if known)     18-31615-SGJ11
                                                                                                                             Unsecured claim

  7     Citibank AAdvantage World MastercardWhat is the nature of the claim?                   Credit Card                            $8,497.00
        Creditor's name                                  As of the date you file, the claim is:  Check all that apply.
        c/o United Collection Bureau, Inc.                   Contingent
        Number            Street
                                                             Unliquidated
        P.O. Box 140310
                                                             Disputed
                                                             None of the above apply
        Toledo                     OH      43614
        City                       State   ZIP Code      Does the creditor have a lien on your property?
                                                             No
        Contact                                              Yes. Total claim (secured and unsecured):
                                                                    Value of security                 –
        Contact phone
                                                                    Unsecured claim:


  8     The Speer Kipp Group, PLLC                       What is the nature of the claim?       Services Rendered                     $3,000.00
        Creditor's name                                  As of the date you file, the claim is:   Check all that apply.
        13355 Noel Rd., LB 13                                Contingent
        Number            Street
                                                             Unliquidated
                                                             Disputed
                                                             None of the above apply
        Dallas                     TX      75240
        City                       State   ZIP Code      Does the creditor have a lien on your property?
                                                             No
        Contact                                              Yes. Total claim (secured and unsecured):
                                                                    Value of security                  –
        Contact phone
                                                                    Unsecured claim:


  9     PlainsCapital Bank                            What is the nature of the claim?       Personal Loan                            $2,233.66
        Creditor's name                               As of the date you file, the claim is:   Check all that apply.
        P.O. Box 93600                                    Contingent
        Number            Street
                                                          Unliquidated
                                                          Disputed
                                                          None of the above apply
        Lubbock                    TX      79493-3600
        City                       State   ZIP Code   Does the creditor have a lien on your property?
                                                          No
        Contact                                           Yes. Total claim (secured and unsecured):
                                                                 Value of security                 –
        Contact phone
                                                                 Unsecured claim:


 10     Robert Morgan, DDS                               What is the nature of the claim?       Medical Expense                        $350.00
        Creditor's name                                  As of the date you file, the claim is:   Check all that apply.
        375 Municipal St., Suite 104                         Contingent
        Number            Street
                                                             Unliquidated
                                                             Disputed
                                                             None of the above apply
        Richardson                 TX      75080
        City                       State   ZIP Code      Does the creditor have a lien on your property?
                                                             No
        Contact                                              Yes. Total claim (secured and unsecured):
                                                                    Value of security                  –
        Contact phone
                                                                    Unsecured claim:




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